               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 1 of 87 PageID #: 104

Complaint, Exhibit 4.




                                    U.S. Patent No. US 9,300,723 v. Vivint Inc.
                        Claims 1, 6, 8, 9, 12, 17, 19, 20, 22, 27, 30, 32, 37, 39, 42, 47, 49, 50.




                                                                                                     1
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 2 of 87 PageID #: 105

Complaint, Exhibit 4.



1. Claim Chart

    Claim                                                                  Analysis
 [1.P] A         Vivint (“Company”) makes, uses, sells, and/or offers to sell a media system.
 media
 system,         This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 comprising:
                 For example, Company offers a Home Security System that comprises a Smart Hub (“media system”) that allows users
                 to watch live camera feeds, close the garage, lock and unlock doors, control a smart thermostat, or turn on an alarm
                 system.




                 Source: https://www.vivint.com/packages/home-security




                                                                                                                                        2
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 3 of 87 PageID #: 106

Complaint, Exhibit 4.




                Source: https://www.vivint.com/packages/home-automation




                Source: https://www.vivint.com/packages/home-security




                                                                                                   3
                  Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 4 of 87 PageID #: 107

Complaint, Exhibit 4.




                                                                                                                    Media System




                   Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [1.1] at least    Company provides at least one media terminal disposed in an accessible relation to at least one interactive computer
 one     media     network.
 terminal
 disposed in       This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 an accessible
 relation to at    For example, the smart thermostat is connected (“accessible relation”) to the Vivint smart hub (“one media terminal”)
 least      one    through the Z-wave smart home protocol (“at least one interactive computer network”).
 interactive
 computer
 network,




                                                                                                                                            4
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 5 of 87 PageID #: 108

Complaint, Exhibit 4.




                                                                                                                Thermostat




                Source: https://www.vivint.com/products/smart-thermostat (annotated)




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [1.2]       a Company provides a wireless range structured to permit authorized access to said at least one interactive computer
 wireless      network.
 range

                                                                                                                                         5
                  Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 6 of 87 PageID #: 109

Complaint, Exhibit 4.



 structured to     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 permit
 authorized        For example, to pair the thermostat device with the smart hub, the thermostat device must be within the range of 100
 access to said    meters (“a wireless range”) of the Z-wave protocol. Further, Z-Wave network and devices in the Z-wave network are
 at least one      identified with their respective unique IDs. The unique IDs prevents unauthorized devices to access the Z-wave network.
 interactive       Therefore, upon information and belief, the thermostat devices that are within the wireless range of the Z-wave protocol
 computer          are structured to permit authorized access to pair with the smart hub.
 network,




                   Source: https://www.z-wave.com/learn




                   Source: https://www.techtarget.com/iotagenda/definition/Z-Wave

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [1.3] at least Company provides at least one media node disposable within said wireless range, wherein said at least one media node
 one     media is detectable by said at least one media terminal.
 node


                                                                                                                                              6
                    Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 7 of 87 PageID #: 110

Complaint, Exhibit 4.



 disposable          This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 within said
 wireless            For example, the smart hub is paired to the thermostat (“one media node”) when it is located within the range of the Z-
 range,              Wave protocol (“disposable within said wireless range”). Further, during pairing, the smart hub searches for the nearby
 wherein said        thermostat devices to get paired (“one media node is detectable by said at least one media terminal”).
 at least one
 media node is                                                             Media terminal
 detectable by
 said at least                                                          Media Node
 one     media
 terminal,




                     Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)

                     Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                     supplement these contentions pursuant to production of such source code by the Company.
 [1.4] at least      Company provides at least one digital media file initially disposed on at least one of said at least one media terminal or
 one      digital    said at least one media node, said at least one media terminal being structured to detect said at least one media node
 media       file    disposed within said wireless range.
 initially
 disposed on         This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 at least one of
 said at least       For example, to pair the thermostat to the smart hub, ‘smart home devices’ settings followed by “Z-wave” and “Add
 one      media      Node” settings are selected on the hub to pair with the thermostat. Further, when the thermostat’s side button is held for
 terminal or         6 seconds, it starts searching (“said at least one media terminal being structured to detect said at least one media node”)

                                                                                                                                                   7
                  Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 8 of 87 PageID #: 111

Complaint, Exhibit 4.



 said at least     for the Z-wave network, and upon clicking the Connect button for the searched network, the thermostat is paired with
 one     media     the smart hub.
 node, said at
 least     one     Furthermore, once the thermostat is connected to the smart hub, the smart hub allows users to control the thermostat by
 media             providing various functionalities on the smart hub such as changing room temperature, selecting different modes, and
 terminal          adjusting heating types. Therefore, it would be apparent to a person having ordinary skill in the art that the smart hub
 being             stores the settings to adjust the temperature on the thermostat.
 structured to
 detect said at
 least     one
 media node
 disposed
 within said
 wireless
 range,




                   Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                                                                                                                                              8
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 9 of 87 PageID #: 112

Complaint, Exhibit 4.




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat




                                                                   Adjust Temperature




                                                                                                   9
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 10 of 87 PageID #: 113

Complaint, Exhibit 4.




                   Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)




                   Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat
                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [1.5]         a   Company provides a communication link structured to dispose said at least one media terminal and said at least one
 communicati       media node in a communicative relation with one another via said at least one interactive computer network, where said
 on         link   communication link being initiated by said at least one media terminal.
 structured to
 dispose said      This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 at least one
 media             For example, to pair the thermostat to the smart hub, ‘smart home devices’ settings are selected on the hub. Further, “Z-
 terminal and      wave” and “Add Node” settings are selected to pair with the thermostat (“said communication link being initiated by
 said at least     said at least one media terminal”). Further, when the pairing process is complete, a link ("communicative relation”) is
 one      media    established between the thermostat and the smart hub via Z-wave protocol (“said at least one interactive computer
 node in a         network”) such that the user adjusts the temperature on the thermostat via the smart hub.
 communicati
 ve     relation


                                                                                                                                           10
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 11 of 87 PageID #: 114

Complaint, Exhibit 4.



 with       one
 another via
 said at least
 one
 interactive
 computer
 network,
 said
 communicati
 on link being Source: https://www.vivint.com/resources/article/smart-home-technologies-guide
 initiated by
 said at least
 one      media
 terminal,




                Source: https://www.vivint.com/resources/article/smart-home-technologies-guide




                                                                                                   11
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 12 of 87 PageID #: 115

Complaint, Exhibit 4.




                  Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.
 [1.6] said at    Company provides at least one media node and said at least one media terminal being structured to transmit said at least
 least      one   one digital media file therebetween via said communication link.
 media node
 and said at      This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least      one
 media            For example, after the pairing process is complete, the smart hub allows the users to adjust the temperature settings for
 terminal         the thermostat directly from the smart hub. When the user modifies the room temperature using the smart hub, the
 being            adjusted temperature is reflected on the connected thermostat device as the target temperature. Therefore, it would be
 structured to    apparent to a person having ordinary skill in the art that the modified temperature instruction (“digital media file”) is
 transmit said    transmitted from the smart hub to the thermostat via the established link.
 at least one
 digital media
 file
 therebetween
 via       said
 communicati                                                                  User adjusting
 on link, and                                                                 temperature to 73° F via
                                                                              smart hub




                                                                                                                                          12
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 13 of 87 PageID #: 116

Complaint, Exhibit 4.



                  Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:10 (annotated)




                                                           Modified temperature
                                                           (73° F) being displayed
                                                           on thermostat device




                  Source: https://www.youtube.com/watch?v=NT36UmzH1A0, at 0:57 (annotated)

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.
 [1.7]     said   Company provides a media system, wherein said communication link is structured to bypass at least one media terminal
 communicati      security measure for a limited permissible use of the communication link by the media node to only transferring the at
 on link is       least one digital media file to, and displaying the at least one digital media file on, the at least one media terminal.
 structured to
 bypass      at   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least     one
 media            For example, once the devices are paired, a link is established between them, enabling the users to adjust the thermostat's
 terminal         temperature settings directly from the smart hub without the need to regularly pair the devices. As pairing is not necessary
 security         each time to make temperature adjustments via the smart hub, it would be apparent to a person having ordinary skill in
 measure for a    the art that the established communication link is designed to bypass security measures related to the smart hub.
 limited          Additionally, the adjusted temperature is reflected on the smart hub as the target temperature (“displaying the at least
 permissible      one digital media file on, the at least one media terminal”).


                                                                                                                                             13
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 14 of 87 PageID #: 117

Complaint, Exhibit 4.



 use of the
 communicati
 on link by the
 media node to
 only
 transferring
 the at least
 one     digital
 media file to,
 and
 displaying      Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat
 the at least
 one     digital
 media file on,
 the at least
 one     media
 terminal.




                                                                                        displaying the at least one digital
                                                                                        media file on, the at least one media
                                                                                        terminal

                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.



                                                                                                                                     14
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 15 of 87 PageID #: 118

Complaint, Exhibit 4.



 [6]       The    Company provides the system of claim 1, wherein the communication link is at least one of a peer-to-peer connection,
 system      of   bluetooth connection, and a WiFi connection.
 claim       1,
 wherein the      This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 communicati
 on link is at    For example, the smart home devices such as the thermostat communicates wirelessly with the smart hub using Z-Wave
 least one of a   protocol (‘peer-to-peer connection”).
 peer-to-peer
 connection,
 bluetooth
 connection,
 and a WiFi
 connection.




                                                                                                    Peer-to-peer connection
                  Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)




                  Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat



                                                                                                                                     15
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 16 of 87 PageID #: 119

Complaint, Exhibit 4.



                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company
 [8]        The    Company provides the system of claim 1, further comprising presenting the at least one digital media file on a display.
 system       of
 claim        1,   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 further
 comprising        For example, the adjusted temperature reading is reflected on the smart hub (“presenting the at least one digital media
 presenting        file on a display”).
 the at least
 one     digital
 media file on
 a display.




                                                                                                Media file on a display

                   Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company
 [9]       The Company provides the system of claim 1, wherein the at least one digital media file is provided by the at least one media
 system     of node.
 claim      1,


                                                                                                                                             16
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 17 of 87 PageID #: 120

Complaint, Exhibit 4.



 wherein the at This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least     one
 digital media For example, the thermostat provides features to adjust the temperature. Therefore, it would be apparent to a person
 file        is having ordinary skill in the art that the digital media file is provided by the media node.
 provided by
 the at least
 one     media
 node.




                                                                                               Media file

                  Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company
 [12] A media     Vivint (“Company”) makes, uses, sells and/or offers to sell a media system configured to receive a media file from a
 system           wireless mobile device over communication network.
 configured to
 receive      a   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media     file
 from         a   For example, Company offers a Home security system which comprises a Smart Hub (“media system”) which is further
 wireless         paired with smart devices such as door locks, security camera and, thermostat (“wireless mobile device”) via Z-Wave
 mobile           Technology (“communication network”). Since the smart hub and the thermostat are fully integrated, therefore, the
 device over      reading on/measured by the thermostat (“media file”) is reflected (“configured to receive”) on the smart hub.
 communicati

                                                                                                                                       17
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 18 of 87 PageID #: 121

Complaint, Exhibit 4.



 on network,
 comprising:




                Source: https://www.vivint.com/packages/home-security




                                                                                                            Media System




                                                                        Thermostat reading reflected on the smart hub

                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)




                                                                                                                           18
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 19 of 87 PageID #: 122

Complaint, Exhibit 4.




                                                                                                 Wireless
                                                                                                 mobile
                                                                                                 device




                Source: https://www.vivint.com/products/smart-thermostat (annotated)




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                                                                                                            19
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 20 of 87 PageID #: 123

Complaint, Exhibit 4.



                Source: https://www.vivint.com/products/smart-thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [12.1]      a Company provides a wireless receiver.
 wireless
 receiver;      This element is infringed literally, or in the alternative, under the doctrine of equivalents.

                For example, the reading on/measured by the thermostat is reflected on the smart hub via Z-Wave network. Therefore,
                it would be apparent to a person having ordinary skill in the art that a wireless receiver is embedded inside the smart hub.




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat
                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.




                                                                                                                                           20
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 21 of 87 PageID #: 124

Complaint, Exhibit 4.



 [12.2]      a Company provides a security measure.
 security
 measure; and This element is infringed literally, or in the alternative, under the doctrine of equivalents.
                 For example, to pair the thermostat and the smart hub, ‘smart home devices’ settings followed by “Z-wave” and “Add
                 Node” settings are selected on the hub to pair with the thermostat. Further, when the thermostat’s side button is held for
                 6 seconds, it becomes detectable for the Z-wave network, and upon clicking the Connect button for the searched network,
                 the thermostat is paired with the smart hub. Therefore, the pairing procedure between the smart hub and the thermostat
                 indicates a presence of a security measure.




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [12.3]     the Company provides the media system disposed in an accessible relation to at least one interactive computer network that
 media system has a wireless range structured to permit authorized access to said at least one interactive computer network.
 disposed in
 an accessible This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 relation to at


                                                                                                                                          21
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 22 of 87 PageID #: 125

Complaint, Exhibit 4.



 least      one
 interactive      For example, to pair (“accessible relation”) the smart hub and the thermostat, the devices must be within a range of 100
 computer         meters (“a wireless range structured to permit authorized access”) of the Z-wave protocol (“computer network”). Further,
 network that     Z-Wave network and devices in the Z-wave network are identified with their respective unique IDs. The unique IDs
 has a wireless   prevents unauthorized devices to access the Z-wave network. Therefore, upon information and belief, the thermostat
 range            devices that are within the wireless range of the Z-wave protocol are structured to permit authorized access to pair with
 structured to    the smart hub.
 permit
 authorized
 access to said
 at least one
 interactive
 computer
 network,


                  Source: https://www.z-wave.com/learn




                  Source: https://www.techtarget.com/iotagenda/definition/Z-Wave




                                                                                                                                          22
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 23 of 87 PageID #: 126

Complaint, Exhibit 4.




                                                                 Media system




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat



                                                                                                 Thermostat




                Source: https://www.vivint.com/products/smart-thermostat (annotated)




                                                                                                              23
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 24 of 87 PageID #: 127

Complaint, Exhibit 4.




                   Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [12.4]     the    Company provides the wireless mobile device within said wireless range, wherein said wireless mobile device is
 wireless          detectable by said media system.
 mobile
 device within     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 said wireless
 range,            For example, on the smart hub, ‘smart home devices’ settings followed by “Z-wave” and “Add Node” settings are
 wherein said      selected on the hub to pair with the thermostat (“the wireless mobile device”). Further, the thermostat's side button is
 wireless          held for 6 seconds to make it detectable for pairing with the hub (“said wireless mobile device is detectable by said media
 mobile            system”).
 device       is
 detectable by
 said media
 system,




                                                                                                                                             24
                Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 25 of 87 PageID #: 128

Complaint, Exhibit 4.




                                                                          Media system
                                                                       Wireless mobile Device




                    Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                    Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Company.
 [12.5] at least    Company provides a system wherein at least one digital media file initially disposed on the wireless mobile device, said
 one      digital   media system being structured to detect said wireless mobile device disposed within said wireless range.
 media       file
 initially          This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 disposed on
 the wireless       For example, the thermostat displays a current temperature and a target temperature (“digital media file initially disposed
 mobile             on the wireless mobile device”) and the same reading is reflected on the smart hub.
 device, said
 media system       Further, to pair the thermostat and the smart hub, ‘smart home devices’ settings followed by “Z-wave” and “Add Node”
 being              settings are selected on the hub to pair with the thermostat. Furthermore, when the thermostat’s side button is held for 6
 structured to      seconds, it becomes detectable for the Z-wave network (“said media system being structured to detect said wireless
 detect     said    mobile device within said wireless range”), and upon clicking the Connect button for the searched network, the
 wireless           thermostat is paired with the smart hub.
 mobile

                                                                                                                                              25
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 26 of 87 PageID #: 129

Complaint, Exhibit 4.



 device
 disposed
 within said
 wireless
 range,




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat



                                                                                                   26
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 27 of 87 PageID #: 130

Complaint, Exhibit 4.




                                                                         Media system

                                                                      Wireless mobile device




                   Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat
                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [12.6]        a   Company provides a communication link structured to dispose said media system and said wireless mobile device in a
 communicati       communicative relation with one another via said at least one interactive computer network and said communication link
 on         link   being initiated by said media system.
 structured to
 dispose said      This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media system
 and        said   For example, to pair the thermostat with the smart hub, ‘smart home devices’ settings are selected on the hub. Further,
 wireless          “Z-wave” and “Add Node” settings are selected to pair with the thermostat (“said communication link being initiated by
 mobile            said at least one media system”).
 device in a
 communicati       Further, when the pairing process is complete, a link ("communicative relation”) is established between the thermostat
 ve     relation   and the smart hub via Z-wave protocol (“said at least one interactive computer network”).
 with       one
 another via
 said at least


                                                                                                                                         27
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 28 of 87 PageID #: 131

Complaint, Exhibit 4.



 one
 interactive
 computer
 network,
 said
 communicati
 on link being
 initiated by
 said media
 system,




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                 Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [12.7] said     Company provides a system for transmitting by said wireless mobile device and media system being structured to
 wireless        transmit said at least one digital media file therebetween via said communication link.
 mobile
 device and      This element is infringed literally, or in the alternative, under the doctrine of equivalents.

                                                                                                                                      28
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 29 of 87 PageID #: 132

Complaint, Exhibit 4.



 media system
 being           For example, after the pairing process is complete, the temperature measured by the thermostat, is reflected on the bottom
 structured to   of the smart hub screen. Therefore, it would be apparent to a person having ordinary skill in the art that the thermostat
 transmit said   constantly syncs (“transmit said at least one digital media file therebetween via said communication link”) the
 at least one    temperature reading with the smart hub.
 digital media
 file
 therebetween
 via said
 communicati
 on link, and    Source: https://www.vivint.com/products/smart-thermostat




                 Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.



                                                                                                                                          29
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 30 of 87 PageID #: 133

Complaint, Exhibit 4.



 [12.8]     said   Company provides a system wherein said communication link is structured to bypass the security measure of the media
 communicati       system for a limited permissible use of the communication link by the wireless mobile device for only transferring the at
 on link is        least one digital media file to, and displaying the at least one digital media file on, the media system.
 structured to
 bypass      the   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 security
 measure of        For example, once the devices are paired, a link is established between them, enabling the users to adjust the thermostat's
 the     media     temperature settings both from the thermostat and the smart hub as they are integrated with each other. As pairing is not
 system for a      necessary each time to make temperature adjustments via the smart hub, it would be apparent to a person having ordinary
 limited           skill in the art that the established communication link is designed to bypass security measures related to the smart hub.
 permissible       Additionally, the temperature reading from the connected thermostat device is constantly synced and reflected on the
 use of the        smart hub (“displaying the at least one digital media file on, the media system”).
 communicati
 on link by the
 wireless
 mobile
 device      for
 only
 transferring
 the at least
 one     digital
 media file to,
 and
 displaying
 the at least
 one     digital
 media file on,    Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat
 the     media
 system.




                                                                                                                                             30
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 31 of 87 PageID #: 134

Complaint, Exhibit 4.




                                                                                               digital media file on, the media system

                  Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.
 [17]      The    Company provides the system of claim 12, wherein the communication link is at least one of a peer-to-peer connection,
 system      of   bluetooth connection, and a WiFi connection.
 claim      12,
 wherein the      This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 communicati
 on link is at    For example, the smart home devices such as thermostat communicate wirelessly with the smart hub using Z-Wave
 least one of a   (‘peer-to-peer connection”).
 peer-to-peer
 connection,
 bluetooth
 connection,



                                                                                                                                         31
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 32 of 87 PageID #: 135

Complaint, Exhibit 4.



 and a WiFi
 connection.




                                                                                                   Peer-to-peer connection
                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company
 [19]     The Company provides the system of claim 12, further comprising presenting the at least one digital media file on a display.
 system     of
 claim     12, This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 further
 comprising


                                                                                                                                     32
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 33 of 87 PageID #: 136

Complaint, Exhibit 4.



 presenting      For example, the temperature reading is reflected on the smart hub (“displaying the at least one digital media file on, the
 the at least media system”).
 one     digital
 media file on
 a display.




                                                                                               Media file on display

                  Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.
 [20]      The    Company provides the system of claim 12, wherein the at least one digital media file is provided by the wireless mobile
 system     of    device.
 claim     12,
 wherein the at   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least     one
 digital media    For example, the thermostat provides features to adjust the temperature. Therefore, it would be apparent to a person
 file        is   having ordinary skill in the art that the digital media file is provided by the media node.
 provided by
 the wireless



                                                                                                                                           33
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 34 of 87 PageID #: 137

Complaint, Exhibit 4.



 mobile
 device.




                                                                                         Media file

                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat




                                                                   Adjust Temperature




                                                                                                      34
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 35 of 87 PageID #: 138

Complaint, Exhibit 4.




                   Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)




                   Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat
                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company
 [22.P]       A    Vivint (“Company”) performs and/or induces others to perform a method of transferring a media file from a wireless
 method       of   mobile device to a media system over a communication network, the media system including a security measure.
 transferring a
 media      file   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 from          a
 wireless          For example, Company offers a Home security system which comprises a Smart Hub (“media system”) which is paired
 mobile            with smart devices such as door locks, security camera and, thermostat (“wireless mobile device”) via Z-Wave
 device to a       Technology (“communication network”). Since the smart hub and the thermostat are fully integrated therefore, the
 media system      reading on/measured by the thermostat (“media file”) is reflected on the smart hub. The pairing procedure between the
 over          a   smart hub and the thermostat indicates a presence of a security measure.
 communicati
 on network,
 the     media


                                                                                                                                        35
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 36 of 87 PageID #: 139

Complaint, Exhibit 4.



 system
 including a
 security
 measure,
 comprising:




                Source: https://www.vivint.com/packages/home-security




                                                                                                     Media System




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)



                                                                                                                    36
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 37 of 87 PageID #: 140

Complaint, Exhibit 4.




                                                                                                         Mobile
                                                                                                         device




                Source: https://www.vivint.com/products/smart-thermostat (annotated)




                Source:
                https://wwwassets.s3.amazonaws.com/global/vivint.com/Support/images/Vivint_SmartHubV2_GettingStartedGuide_E
                NU%20-%20revA.2.pdf , Page 13




                Source: https://www.vivint.com/products/smart-thermostat


                                                                                                                          37
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 38 of 87 PageID #: 141

Complaint, Exhibit 4.



                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [22.1]
 disposing the     Company performs and/or induces others to perform a step of disposing the media system in an accessible relation to at
 media system      least one interactive computer network that has a wireless range structured to permit authorized access to said at least
 in          an    one interactive computer network, wherein the wireless mobile device within said wireless range, wherein said wireless
 accessible        mobile device is detectable by said media system.
 relation to at
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least      one
 interactive       For example, to pair (“accessible relation”) the smart hub and the thermostat, the devices must be within a range of 100
 computer          meters (“a wireless range”) of the Z-wave protocol (“computer network”). Further, Z-Wave network and devices in the
 network that      Z-wave network are identified with their respective unique IDs. The unique IDs prevents unauthorized devices to access
 has a wireless    the Z-wave network. Therefore, upon information and belief, the thermostat devices that are within the wireless range of
 range             the Z-wave protocol are structured to permit authorized access to pair with the smart hub.
 structured to
 permit            Further, on the smart hub, ‘smart home devices’ settings followed by “Z-wave” and “Add Node” settings are selected on
 authorized        the hub to pair with the thermostat. Further, the thermostat's side button is held for 6 seconds to make it detectable for
 access to said    pairing with the hub (“wireless mobile device is detectable by said media system”).
 at least one
 interactive
 computer
 network,
 wherein the
 wireless
 mobile
 device within
 said wireless
 range,            Source: https://www.z-wave.com/learn
 wherein said
 wireless
 mobile
 device       is

                                                                                                                                            38
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 39 of 87 PageID #: 142

Complaint, Exhibit 4.



 detectable by
 said media
 system,




                 Source: https://www.techtarget.com/iotagenda/definition/Z-Wave

                                                                  Media System
                                                                Mobile device




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                                                                                                   39
                Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 40 of 87 PageID #: 143

Complaint, Exhibit 4.




                                                                                                                 Thermostat




                 Source: https://www.vivint.com/products/smart-thermostat (annotated)




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [22.2]
 initially       Company performs and/or induces others to perform a step of initially disposing at least one digital media file on the
 disposing at    wireless mobile device, said media system being structured to detect said wireless mobile device disposed within said
 least one       wireless range.

                                                                                                                                      40
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 41 of 87 PageID #: 144

Complaint, Exhibit 4.



 digital media
 file on the     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 wireless
                 For example, the thermostat displays a current temperature and a target temperature (“initially disposing at least one
 mobile
                 digital media file on the wireless mobile device”) and the same reading is reflected on the smart hub.
 device, said
 media system
                 Further, to pair the thermostat and the smart hub, ‘smart home devices’ settings followed by “Z-wave” and “Add Node”
 being
                 settings are selected on the hub to pair with the thermostat. Furthermore, when the thermostat’s side button is held for 6
 structured to
                 seconds, it becomes detectable for the Z-wave network (“said media system being structured to detect said wireless
 detect said
                 mobile device disposed within said wireless range”), and upon clicking the Connect button for the searched network, the
 wireless
                 thermostat is paired with the smart hub.
 mobile
 device
 disposed
 within said
 wireless
 range,




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                                                                                                                                          41
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 42 of 87 PageID #: 145

Complaint, Exhibit 4.




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat

                                                                 Media system

                                                               Wireless mobile device




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat


                                                                                                   42
                Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 43 of 87 PageID #: 146

Complaint, Exhibit 4.



                    Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Company.
 [22.3]
 structuring a      Company performs and/or induces others to perform a step of structuring a communication link to dispose said media
 communicati        system and said wireless mobile device in a communicative relation with one another via said at least one interactive
 on link to         computer network, initiating said communication link by said media system.
 dispose said
                    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media system
 and         said   For example, to pair the thermostat with the smart hub, ‘smart home devices’ settings are selected on the hub. Further,
 wireless           “Z-wave” and “Add Node” settings are selected to pair with the thermostat (“initiating said communication link by said
 mobile             media system”).
 device in a
 communicati        Further, when the pairing process is complete, a link ("communicative relation”) is established between the thermostat
 ve      relation   and the smart hub via Z-wave protocol (“said at least one interactive computer network”).
 with        one
 another via
 said at least
 one
 interactive
 computer
 network,
 initiating said
 communicati
 on link by
 said media
 system,


                    Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                                                                                                                                             43
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 44 of 87 PageID #: 147

Complaint, Exhibit 4.




                   Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [22.4]
 transmitting      Company performs and/or induces others to perform a step of transmitting by said wireless mobile device to the media
 by        said    system said at least one digital media file therebetween via said communication link.
 wireless
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 mobile
                   For example, after the pairing process is complete, the temperature measured by the thermostat, is reflected on the bottom
 device to the
                   of the smart hub screen. Therefore, it would be apparent to a person having ordinary skill in the art that the thermostat
 media system
                   constantly syncs (“transmitting by said wireless mobile device to the media system said at least one digital media file”)
 said at least
                   the temperature reading with the smart hub.
 one     digital
 media      file
 therebetween
 via       said
 communicati
 on link, and
                   Source: https://www.vivint.com/products/smart-thermostat




                                                                                                                                            44
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 45 of 87 PageID #: 148

Complaint, Exhibit 4.




                 Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [22.5]
 wherein said    Company performs and/or induces others to perform a step wherein said communication link is structured to bypass the
 communicati     security measure of the media system for a limited permissible use of the communication link by the wireless mobile
 on link is      device for only transferring the at least one digital media file to, and displaying the at least one digital media file on, the
 structured to   media system.
 bypass    the
                 This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 security
 measure of      For example, once the devices are paired, a link is established between them, enabling the users to adjust the thermostat's
 the     media   temperature settings both from the thermostat and the smart hub as they are integrated with each other. As pairing is not
 system for a    necessary each time to make temperature adjustments via the smart hub, it would be apparent to a person having ordinary
 limited         skill in the art that the established communication link is structured to bypass the security measure related to the smart
 permissible     hub. Additionally, the temperature reading from the connected thermostat device is constantly synced and reflected on
 use of the      the smart hub (“displaying the at least one digital media file on, the media system”).

                                                                                                                                               45
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 46 of 87 PageID #: 149

Complaint, Exhibit 4.



 communicati
 on link by the
 wireless
 mobile
 device     for
 only
 transferring
 the at least
 one     digital
 media file to,
 and
 displaying
 the at least
 one     digital
 media file on, Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat
 the     media
 system.




                                                                                       digital media file on, the media system

                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)



                                                                                                                                 46
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 47 of 87 PageID #: 150

Complaint, Exhibit 4.




                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.


 [27]      The
 method      of   Company performs and induces others to perform the method of claim 22, wherein the communication link is at least
 claim      22,   one of a peer-to-peer connection, bluetooth connection, and a WiFi connection.
 wherein the
                  This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 communicati
 on link is at    For example, the smart home devices such as thermostat communicate wirelessly with the smart hub using Z-Wave
 least one of a   (‘peer-to-peer connection”).
 peer-to-peer
 connection,
 bluetooth
 connection,
 and a WiFi
 connection.




                                                                                                     Peer-to-peer connection
                  Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)




                                                                                                                                       47
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 48 of 87 PageID #: 151

Complaint, Exhibit 4.




                   Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Company.
 [29]       The
 method       of   Company performs and induces others to perform the method of claim 22, further comprising presenting the at least one
 claim      22,    digital media file on a display.
 further
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 comprising
 presenting        For example, the temperature reading is reflected on the smart hub (“presenting the at least one digital media file on a
 the at least      display”).
 one     digital
 media file on
 a display.




                                                                                                                                            48
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 49 of 87 PageID #: 152

Complaint, Exhibit 4.




                                                                                               Media file on display

                  Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.
 [30]      The
 method     of    Company performs and induces others to perform the method of claim 22, wherein the at least one digital media file is
 claim     22,    provided by the wireless mobile device.
 wherein the at
                  This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least     one
 digital media    For example, the thermostat provides features to adjust the temperature. Therefore, it would be apparent to a person
 file        is   having ordinary skill in the art that the digital media file is provided by the media node.
 provided by
 the wireless
 mobile
 device.




                                                                                                                                       49
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 50 of 87 PageID #: 153

Complaint, Exhibit 4.




                                                                                         Media file

                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat




                                                                   Adjust Temperature




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                                                                                                      50
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 51 of 87 PageID #: 154

Complaint, Exhibit 4.




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [32.P] A        Vivint (“Company”) makes, uses, sells and/or offers to sell a wireless mobile device configured to transmit a media file
 wireless        to a media system over a communication network having a security measure.
 mobile
 device          This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 configured to
 transmit a      For example, Company offers a Home security system which comprises a Smart Hub (“media system”) which is paired
 media file to   with smart devices such as door locks, security camera and, thermostat (“wireless mobile device”) via Z-Wave
 a media         Technology (“communication network”). Since the smart hub and the thermostat are fully integrated therefore, the
 system over a   reading on/measured by the thermostat (“media file”) is reflected on the smart hub. The pairing procedure between the
 communicati     smart hub and the thermostat indicates a presence of a security measure.
 on network
 having a
 security
 measure
 comprising:

                                                                                                                                        51
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 52 of 87 PageID #: 155

Complaint, Exhibit 4.




                Source: https://www.vivint.com/packages/home-security




                                                                                                     Media System




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)




                                                                                                                    52
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 53 of 87 PageID #: 156

Complaint, Exhibit 4.




                                                                                                         Mobile
                                                                                                         device




                Source: https://www.vivint.com/products/smart-thermostat (annotated)




                Source:
                https://wwwassets.s3.amazonaws.com/global/vivint.com/Support/images/Vivint_SmartHubV2_GettingStartedGuide_E
                NU%20-%20revA.2.pdf , Page 13




                Source: https://www.vivint.com/products/smart-thermostat


                                                                                                                          53
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 54 of 87 PageID #: 157

Complaint, Exhibit 4.




                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [32.1]      the Company provides the media system disposed in an accessible relation to at least one interactive computer network that
 media system has a wireless range structured to permit authorized access to said at least one interactive computer network.
 disposed in
 an accessible This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 relation to at
 least      one
 interactive     For example, to pair (“accessible relation”) the smart hub and the thermostat, the devices must be within a range of 100
 computer        meters (“a wireless range”) of the Z-wave protocol (“computer network”). Further, Z-Wave network and devices in the
 network that Z-wave network are identified with their respective unique IDs. The unique IDs prevents unauthorized devices to access
 has a wireless the Z-wave network. Therefore, upon information and belief, the thermostat devices that are within the wireless range of
 range           the Z-wave protocol are structured to permit authorized access to pair with the smart hub.
 structured to
 permit
 authorized
 access to said
 at least one
 interactive
 computer
 network,

                 Source: https://www.z-wave.com/learn




                 Source: https://www.techtarget.com/iotagenda/definition/Z-Wave


                                                                                                                                        54
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 55 of 87 PageID #: 158

Complaint, Exhibit 4.




                                                                   Media system




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [32.2]     the Company provides the wireless mobile device within said wireless range, wherein said wireless mobile device is
 wireless       detectable by said media system.

                                                                                                                                     55
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 56 of 87 PageID #: 159

Complaint, Exhibit 4.



 mobile
 device within    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 said wireless
 range,           For example, on the smart hub, ‘smart home devices’ settings followed by “Z-wave” and “Add Node” settings are
 wherein said     selected on the hub to pair with the thermostat. Further, the thermostat's side button is held for 6 seconds to make it
 wireless         detectable for pairing with the hub (“wireless mobile device is detectable by said media system”).
 mobile
 device      is
 detectable by
 said media
 system,




                  Source: https://www.z-wave.com/learn

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.
 [32.3] at least Company provides at least one digital media file initially disposed on the wireless mobile device, said media system
 one      digital being structured to detect said wireless mobile device disposed within said wireless range.
 media       file
 initially        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 disposed on
 the wireless For example, the thermostat displays a current temperature and a target temperature (“digital media file initially disposed
 mobile           on the wireless mobile device”) and the same reading is reflected on the smart hub.
 device, said
 media system Further, to pair the thermostat and the smart hub, ‘smart home devices’ settings followed by “Z-wave” and “Add Node”
 being            settings are selected on the hub to pair with the thermostat. Furthermore, when the thermostat’s side button is held for 6
 structured to seconds, it becomes detectable for the Z-wave network (“said media system being structured to detect said wireless
 detect     said mobile device within said wireless range”), and upon clicking the Connect button for the searched network, the
 wireless         thermostat is paired with the smart hub.


                                                                                                                                           56
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 57 of 87 PageID #: 160

Complaint, Exhibit 4.



 mobile
 device
 disposed
 within said
 wireless
 range,




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat



                                                                                                   57
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 58 of 87 PageID #: 161

Complaint, Exhibit 4.



                                                                   Media system

                                                                 Wireless mobile device




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [32.4]        a Company provides a communication link structured to dispose said media system and said wireless mobile device in a
 communicati communicative relation with one another via said at least one interactive computer network, said communication link
 on         link being initiated by said media system.
 structured to
 dispose said This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media system
 and        said For example, to pair the thermostat with the smart hub, ‘smart home devices’ settings are selected on the hub. Further,
 wireless        “Z-wave” and “Add Node” settings are selected to pair with the thermostat (“said communication link being initiated by
 mobile          said at least one media system”).
 device in a
 communicati Further, when the pairing process is complete, a link ("communicative relation”) is established between the thermostat
 ve     relation and the smart hub via Z-wave protocol (“said at least one interactive computer network”).
 with       one
 another via
 said at least
 one

                                                                                                                                       58
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 59 of 87 PageID #: 162

Complaint, Exhibit 4.



 interactive
 computer
 network, said
 communicati
 on link being
 initiated by
 said media
 system,




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                 Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Company.
 [32.5]   said Company provides said wireless mobile device and media system being structured to transmit said at least one digital
 wireless      media file therebetween via said communication link.
 mobile
 device and This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media system

                                                                                                                                    59
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 60 of 87 PageID #: 163

Complaint, Exhibit 4.



 being            For example, after the pairing process is complete, the temperature measured by the thermostat, is reflected on the bottom
 structured to    of the smart hub screen. Therefore, it would be apparent to a person having ordinary skill in the art that the thermostat
 transmit said    constantly syncs (“transmit said at least one digital media file therebetween via said communication link”) the
 at least one     temperature reading with the smart hub.
 digital media
 file
 therebetween
 via       said
 communicati
 on link, and     Source: https://www.vivint.com/products/smart-thermostat




                  Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.




                                                                                                                                           60
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 61 of 87 PageID #: 164

Complaint, Exhibit 4.



 [32.6]     said   Company provides said communication link is structured to bypass the security measure of the media system for a limited
 communicati       permissible use of the communication link by the wireless mobile device for only transferring the at least one digital
 on link is        media file to, and displaying the at least one digital media file on, the media system.
 structured to
 bypass      the   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 security
 measure of        For example, once the devices are paired, a link is established between them, enabling the users to adjust the thermostat's
 the     media     temperature settings both from the thermostat and the smart hub as they are integrated with each other. As pairing is not
 system for a      necessary each time to make temperature adjustments via the smart hub, it would be apparent to a person having ordinary
 limited           skill in the art that the established communication link is designed to bypass security measures related to the smart hub.
 permissible       Additionally, the temperature reading from the connected thermostat device is constantly synced and reflected on the
 use of the        smart hub (“displaying the at least one digital media file on, the media system”).
 communicati
 on link by the
 wireless
 mobile
 device      for
 only
 transferring
 the at least
 one     digital
 media file to,
 and
 displaying
 the at least
 one     digital
 media file on,    Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat
 the     media
 system.




                                                                                                                                             61
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 62 of 87 PageID #: 165

Complaint, Exhibit 4.




                                                                                        digital media file on, the media system

                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [37]      The Company provides the system of claim 32, wherein the communication link is at least one of a peer-to-peer connection,
 system      of bluetooth connection, and a WiFi connection.
 claim      32,
 wherein the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 communicati
 on link is at For example, the smart home devices such as thermostat communicate wirelessly with the smart hub using Z-Wave
 least one of a (‘peer-to-peer connection”).
 peer-to-peer
 connection,
 bluetooth
 connection,
 and a WiFi
 connection.

                                                                                                                                     62
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 63 of 87 PageID #: 166

Complaint, Exhibit 4.




                                                                                                   Peer-to-peer connection
                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

              Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
              supplement these contentions pursuant to production of such source code by the Company
 [39]     The Company provides the system of claim 32, further comprising presenting the at least one digital media file on a display.
 system    of
 claim    32, This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 further
 comprising     For example, the temperature reading is reflected on the smart hub (“presenting the at least one digital media file on a
 presenting     display.”)

                                                                                                                                       63
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 64 of 87 PageID #: 167

Complaint, Exhibit 4.



 the at least
 one     digital
 media file on
 a display.




                                                                                         Media file on display

                   Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company
 [40]      The Company provides the system of claim 32, wherein the at least one digital media file is provided by the wireless mobile
 system     of device.
 claim     32,
 wherein the at This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least     one
 digital media For example, the thermostat provides features to adjust the temperature. Therefore, it would be apparent to a person
 file        is having ordinary skill in the art that the digital media file is provided by the media node.
 provided by
 the wireless
 mobile
 device.




                                                                                                                                     64
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 65 of 87 PageID #: 168

Complaint, Exhibit 4.




                                                                                         Media file

                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat




                                                                   Adjust Temperature




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                                                                                                      65
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 66 of 87 PageID #: 169

Complaint, Exhibit 4.




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company
 [42]         A Vivint (“Company”) makes, uses, sells and/or offers to sell a wireless mobile device configured to transmit a media file
 transfer        to a media system over a communication network having a security measure.
 system from
 transferring a This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media      file
 over          a For example, Company offers a Home security system which comprises a Smart Hub (“media system”) which is paired
 communicati with smart devices such as door locks, security camera and, thermostat (“wireless mobile device”) via Z-Wave
 on network, Technology (“communication network”). Since the smart hub and the thermostat are fully integrated therefore, the
 comprising a reading on/measured by the thermostat (“media file”) is reflected on the smart hub. The pairing procedure between the
 media           smart hub and the thermostat indicates a presence of a security measure.
 system; and a
 wireless
 mobile
 device,
 wherein the


                                                                                                                                       66
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 67 of 87 PageID #: 170

Complaint, Exhibit 4.



 media system
 includes:




                Source: https://www.vivint.com/packages/home-security




                                                                                                     Media System




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)




                                                                                                                    67
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 68 of 87 PageID #: 171

Complaint, Exhibit 4.




                                                                                                 Mobile
                                                                                                 device




                Source: https://www.vivint.com/products/smart-thermostat (annotated)




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                                                                                                          68
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 69 of 87 PageID #: 172

Complaint, Exhibit 4.




                Source:
                https://wwwassets.s3.amazonaws.com/global/vivint.com/Support/images/Vivint_SmartHubV2_GettingStartedGuide_E
                NU%20-%20revA.2.pdf , Page 13




                Source: https://www.vivint.com/products/smart-thermostat

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Company.
 [42.1]      a Company provides a wireless receiver.
 wireless
 receiver,      This element is infringed literally, or in the alternative, under the doctrine of equivalents.

                For example, the reading on/measured by the thermostat is reflected on the smart hub via Z-Wave network. Therefore,
                it would be apparent to a person having ordinary skill in the art that a wireless receiver is embedded inside the smart
                hub.




                                                                                                                                          69
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 70 of 87 PageID #: 173

Complaint, Exhibit 4.




                                                                                      Media file

                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)




                                                                    Adjust Temperature




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                                                                                                     70
                Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 71 of 87 PageID #: 174

Complaint, Exhibit 4.




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

               Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
               supplement these contentions pursuant to production of such source code by the Company.
 [42.2]      a Company provides a security measure.
 security
 measure; and    This element is infringed literally, or in the alternative, under the doctrine of equivalents.

                                                                                                                                    71
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 72 of 87 PageID #: 175

Complaint, Exhibit 4.




                 For example, to pair the thermostat and the smart hub, ‘smart home devices’ settings followed by “Z-wave” and “Add
                 Node” settings are selected on the hub to pair with the thermostat. Further, when the thermostat’s side button is held for
                 6 seconds, it becomes detectable for the Z-wave network, and upon clicking the Connect button for the searched network,
                 the thermostat is paired with the smart hub. Therefore, the pairing procedure between the smart hub and the thermostat
                 indicates a presence of a security measure.




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.

 [42.2]      a Company provides a processor.
 processor
 configured to This element is infringed literally, or in the alternative, under the doctrine of equivalents.

                 For example, the smart hub receives the information from sensors such as thermostat and allows the user to adjust the
                 temperature accordingly. Therefore, it would be apparent to a person having ordinary skill in the art that a processor is
                 embedded inside the smart hub to process the gathered information.



                                                                                                                                          72
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 73 of 87 PageID #: 176

Complaint, Exhibit 4.




                                                                            Media System




                 Source: https://www.vivint.com/packages/home-automation (annotated)

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [42.3]      the Company provides the media system disposed in an accessible relation to at least one interactive computer network that
 media system has a wireless range structured to permit authorized access to said at least one interactive computer network.
 disposed in
 an accessible This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 relation to at
 least      one For example, to pair (“accessible relation”) the smart hub and the thermostat, the devices must be within a range of 100
 interactive     meters (“a wireless range structured to permit authorized access”) of the Z-wave protocol (“computer network”). Further,
 computer        Z-Wave network and devices in the Z-wave network are identified with their respective unique IDs. The unique IDs
 network that prevents unauthorized devices to access the Z-wave network. Therefore, upon information and belief, the thermostat
 has a wireless devices that are within the wireless range of the Z-wave protocol are structured to permit authorized access to pair with
 range           the smart hub.
 structured to
 permit
 authorized
 access to said
 at least one
 interactive
 computer
 network,

                                                                                                                                        73
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 74 of 87 PageID #: 177

Complaint, Exhibit 4.




                Source: https://www.z-wave.com/learn




                Source: https://www.techtarget.com/iotagenda/definition/Z-Wave




                Source: https://www.vivint.com/resources/article/smart-home-technologies-guide




                                                                                                   74
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 75 of 87 PageID #: 178

Complaint, Exhibit 4.




                                                                   Media terminal




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [42.4]     the Company provides the wireless mobile device within said wireless range, wherein said wireless mobile device is
 wireless       detectable by said media system.

                                                                                                                                     75
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 76 of 87 PageID #: 179

Complaint, Exhibit 4.



 mobile
 device within    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 said wireless
 range,           For example, on the smart hub, ‘smart home devices’ settings followed by “Z-wave” and “Add Node” settings are
 wherein said     selected on the hub to pair with the thermostat. Further, the thermostat's side button is held for 6 seconds to make it
 wireless         detectable for pairing with the hub (“wireless mobile device is detectable by said media system”).
 mobile
 device      is                                                         Media terminal
 detectable by
 said media
 system,




                  Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Company.
 [42.5] at least Company provides at least one digital media file initially disposed on the wireless mobile device, said media system
 one      digital being structured to detect said wireless mobile device disposed within said wireless range.
 media       file
 initially        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 disposed on
 the wireless For example, the thermostat displays a current temperature and a target temperature (“digital media file initially disposed
 mobile           on the wireless mobile device”) and the same reading is reflected on the smart hub.
 device, said
 media system

                                                                                                                                        76
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 77 of 87 PageID #: 180

Complaint, Exhibit 4.



 being            Further, to pair the thermostat and the smart hub, ‘smart home devices’ settings followed by “Z-wave” and “Add Node”
 structured to    settings are selected on the hub to pair with the thermostat. Furthermore, when the thermostat’s side button is held for 6
 detect    said   seconds, it becomes detectable for the Z-wave network (“said media system being structured to detect said wireless
 wireless         mobile device within said wireless range”), and upon clicking the Connect button for the searched network, the
 mobile           thermostat is paired with the smart hub.
 device
 disposed
 within said
 wireless
 range,




                  Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                                                                                                                                           77
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 78 of 87 PageID #: 181

Complaint, Exhibit 4.




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat

                                                                 Media system

                                                               Wireless mobile device




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat


                                                                                                   78
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 79 of 87 PageID #: 182

Complaint, Exhibit 4.



                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Company.
 [42.6]        a Company provides a communication link structured to dispose said media system and said wireless mobile device in a
 communicati communicative relation with one another via said at least one interactive computer network, said communication link
 on         link being initiated by said media system.
 structured to
 dispose said This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media system
 and        said For example, to pair the thermostat with the smart hub, ‘smart home devices’ settings are selected on the hub. Further,
 wireless        “Z-wave” and “Add Node” settings are selected to pair with the thermostat (“said communication link being initiated by
 mobile          said at least one media system”).
 device in a
 communicati Further, when the pairing process is complete, a link ("communicative relation”) is established between the thermostat
 ve     relation and the smart hub via Z-wave protocol (“said at least one interactive computer network”).
 with       one
 another via
 said at least
 one
 interactive
 computer
 network,
 said
 communicati
 on link being
 initiated by
 said media
 system,

                 Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat




                                                                                                                                       79
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 80 of 87 PageID #: 183

Complaint, Exhibit 4.




                 Source: https://www.vivint.com/resources/article/smart-home-technologies-guide

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [42.7]    said Company provides said wireless mobile device and media system being structured to transmit said at least one digital
 wireless       media file therebetween via said communication link.
 mobile
 device and This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media system
 being          For example, after the pairing process is complete, the temperature measured by the thermostat, is reflected on the bottom
 structured to of the smart hub screen. Therefore, it would be apparent to a person having ordinary skill in the art that the thermostat
 transmit said constantly syncs (“transmit said at least one digital media file therebetween via said communication link”) the
 at least one temperature reading with the smart hub.
 digital media
 file
 therebetween
 via       said
 communicati
 on link, and   Source: https://www.vivint.com/products/smart-thermostat




                                                                                                                                         80
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 81 of 87 PageID #: 184

Complaint, Exhibit 4.




                 Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company.
 [42.8]    said Company provides said communication link is structured to bypass the security measure of the media system for a limited
 communicati permissible use of the communication link by the wireless mobile device for only transferring the at least one digital
 on link is media file to, and displaying the at least one digital media file on, the media system.
 structured to
 bypass     the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 security
 measure of For example, once the devices are paired, a link is established between them, enabling the users to adjust the thermostat’s
 the     media temperature settings directly from the smart hub without the need to regularly pair the devices. As pairing is not necessary
 system for a each time to make temperature adjustments via the smart hub, it would be apparent to a person having ordinary skill in
 limited        the art that the established communication link is designed to bypass security measures related to the smart hub.
 permissible    Additonally, the adjusted temperature from the connected thermostat device is reflected on the smart hub as the target
 use of the temperature (“displaying the at least one digital media file on, the media system.”).
 communicati

                                                                                                                                          81
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 82 of 87 PageID #: 185

Complaint, Exhibit 4.



 on link by the
 wireless
 mobile
 device     for
 only
 transferring
 the at least
 one     digital
 media file to,
 and
 displaying      Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat
 the at least
 one     digital
 media file on,
 the     media
 system.




                                                                                        Media file on display

                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

              Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
              supplement these contentions pursuant to production of such source code by the Company.
 [47]     The Company provides the system of claim 42, wherein the communication link is at least one of a peer-to-peer connection,
 system    of Bluetooth connection, and a WiFi connection.

                                                                                                                                   82
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 83 of 87 PageID #: 186

Complaint, Exhibit 4.



 claim      42,
 wherein the This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 communicati
 on link is at For example, the smart home devices such as thermostat communicate wirelessly with the smart hub using Z-Wave
 least one of a (‘peer-to-peer connection”).
 peer-to-peer
 connection,
 83luetooth
 connection,
 and a WiFi
 connection.




                                                                                                   Peer-to-peer connection
                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat (annotated)




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company



                                                                                                                                     83
               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 84 of 87 PageID #: 187

Complaint, Exhibit 4.



 [49]       The    Company provides the system of claim 42, further comprising presenting the at least one digital media file on a display.
 system       of
 claim      42,    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 further
 comprising        For example, the temperature reading is reflected on the smart hub (“presenting the at least one digital media file on a
 presenting        display”).
 the at least
 one     digital
 media file on
 a display.




                                                                                                Media file on display

                   Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company
 [50]      The Company provides the system of claim 32, wherein the at least one digital media file is provided by the wireless mobile
 system     of device.
 claim     32,
 wherein the at This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 least     one
 digital media For example, the thermostat provides features to adjust the temperature. Therefore, it would be apparent to a person
 file        is having ordinary skill in the art that the digital media file is provided by the media node.

                                                                                                                                          84
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 85 of 87 PageID #: 188

Complaint, Exhibit 4.



 provided by
 the wireless
 mobile
 device.




                                                                                         Media file

                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat




                                                                   Adjust Temperature




                Source: https://support.vivint.com/article/Smart-Hub-Adjust-Thermostat (annotated)

                                                                                                      85
              Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 86 of 87 PageID #: 189

Complaint, Exhibit 4.




                Source: https://support.vivint.com/article/Smart-Properties-Element-Thermostat

                Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Company




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               Case 2:24-cv-00098-JRG-RSP Document 1-4 Filed 02/13/24 Page 87 of 87 PageID #: 190

Complaint, Exhibit 4.



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